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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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  Counsel for Plaintiff BlockFi, Inc. by and through
  the Plan Administrator
 In re:                                                   Chapter 11
                                                          Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,                                    (Jointly Administered under a Confirmed Plan2)
                              Debtors.1



                  THE PLAN ADMINISTRATOR’S LIMITED OBJECTION TO
                 AND RESERVATION OF RIGHTS CONCERNING MOTION OF
                ZACHARY PRINCE AND FLORI MARQUEZ FOR AN ORDER TO
                ALLOW INSURED PERSONS TO ACCESS EXCESS DIRECTORS
                 AND OFFICERS INSURANCE POLICY FOR DEFENSE COSTS



 1
        The Wind-Down Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017);
        BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi
        Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The
        location of the Wind-Down Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York,
        NY 10019.
 2
        On October 3, 2023, the Court entered an order (the “Confirmation Order”) [Docket No. 1660] confirming the
        Third Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the
        Bankruptcy Code (Additional Technical Modifications) (the “Plan”) [Docket No. 1609].
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         BlockFi Inc. and its debtor affiliates (collectively, “BlockFi” or the “Wind-Down

 Debtors,” or referred to in the past tense as the “Debtors”), as managed by the Plan Administrator,

 in the above-referenced Chapter 11 cases (the “Chapter 11 Cases”) hereby submit this limited

 objection and reservation of rights (the “Limited Objection”) to the Motion of Zachary Prince and

 Flori Marquez for an Order to Allow Insured Persons to Access Excess Directors and Officers

 Insurance Policy for Defense Costs (the “Motion”) [Docket No. 2219]. In support of their

 Objection, the Wind-Down Debtors respectfully submit as follows:

                                              INTRODUCTION

         1.       It should not be required for the Plan Administrator to file this response: as the

 Plan Administrator made clear to Movants weeks prior to their filing the Motion, the Plan

 Administrator does not generally oppose lifting the stay as to the Excess Policy.3 However, as

 the Plan Administrator also made clear to Movants, lifting the stay as to the Excess Policy cannot

 result in a backdoor finding as to the validity of the Excess Policy such that it would prejudice the

 Wind-Down Debtors’ rights as provided in the Plan and Confirmation Order, including those

 asserted in the Insurance Lawsuit.

         2.       After oral discussions, the Plan Administrator drafted and emailed a revised

 proposed order to Movants on March 25 that would obviate the Plan Administrator’s concerns.

 The Plan Administrator received no response to this email for weeks, until a perfunctory email

 hours before the filing of this Motion rejecting the Plan Administrator’s proposed revisions,

 without any detail.

         3.       Consequently, the Plan Administrator is now forced to waste estate resources and

 the court’s time to resolve these issues that should have been resolved prior to the filing of this

 Motion. This Limited Objection is filed to correct certain inaccuracies contained in the Motion,




 3
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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  and to again request – this time, of the Court – that the relief sought be conditioned on insertion

  of language into the order (to the extent that the Court is inclined to grant Movants’ request),

  consistent with the proposed order attached hereto as Exhibit A making clear that (1) such order

  does not constitute a finding as to the validity of the Excess Policy, and (2) reserving the Wind-

  Down Debtors rights as to the Excess Policy.

                                          BACKGROUND

         4.      The Wind-Down Debtors incorporate by reference the facts and procedural history

  as outlined in The Wind-Down Debtor BlockFi, Inc.’s Motion for an Order Remanding State

  Court Action [Docket No. 2181].

         5.      On March 19, 2024, Movants presented the Wind-Down Debtors with a proposed

  order substantially in the form attached to the Motion as Exhibit A.

         6.      On March 25, 2024, the Wind-Down Debtors provided comments to the proposed

  order to Movants clarifying that the proposed order, if entered, would not prejudice the Wind-

  Down Debtors rights with respect to the Excess Policy. The changes to the proposed order as

  provided by the Wind-Down Debtors to Movants on March 25, 2024 is attached hereto as Exhibit

  A.

         7.      Movants did not respond to the Wind-Down Debtors proposed revisions to the

  proposed order prior to filing the Motion on April 4, 2024.

                 LIMITED OBJECTION AND RESERVATION OF RIGHTS

I.       The Excess Policy Is Property Of The Estate,
         Subject To The Automatic Stay, And Recovery Against
         The Policy May Only Be Made Following Order Lifting The Stay.

         8.      First, assuming that the Court is inclined to grant Movants’ request to recover

  against the Excess Policy, the Wind-Down Debtors believe it is important that the correct

  procedures be followed. The Excess Policy is unequivocally property of the Debtors’ bankruptcy

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   estate.4 Recovery against property of the estate or acts to obtain property of the estate are stayed

   until either the property subject to the stay is no longer property of the estate, the case is closed,

   or the stay is lifted by order of the Court.5 Therefore, the only means by which Movants request

   to recover under the Excess Policy may occur is by order of this Court lifting the stay. Any

   assertion by Movants as to an alternative means of recovery is incorrect.

II.        The Wind-Down Debtors Have Standing Over
           Property Of Their Estate, And The Plan Administrator
           Is Not Contractually Obligated To Not Oppose Movants Request.

           9.        The Motion asserts that “under the express terms of the Excess Policy, which is a

   contract the Debtors assumed in the Plan, the Debtors contractually agreed not to oppose any

   efforts by their directors and officers to seek payment pursuant to the Excess Policy or lift any

   bankruptcy stay that might apply to policy proceeds.” Motion ¶ 4. This assertion implies that the

   Wind-Down Debtors lack standing to oppose the Motion. This assertion ignores black-letter

   bankruptcy law.

           10.       It is black-letter law that a debtor may not waive the protections of the automatic

   stay. See Commerzanstalt v. Telewide Sys., 790 F.2d 206, 207 (2d Cir. N.Y. 1986) (considering

   a post-petition waiver and stating, “[s]ince the purpose of the stay is to protect creditors as well

   as the debtor, the debtor may not waive the automatic stay.”); Constitution Bank v. Tubbs, 68 F.3d

   685, 691 (3d Cir. Pa. 1995) (considering a post-petition wavier and stating, “[t]he automatic stay


   4
       Section 541 of the Bankruptcy Code provides that, among other things, property of the estate “is comprised of
       all the following property, wherever located and by whomever held: (1) Except as provided in subsections (b)
       and (c)(2) of this section, all legal or equitable interests of the debtor in property as of the commencement of the
       case.” 11 U.S.C. § 541(a)(1). It is well-settled that “Congress intended section 541 to be broad and inclusive.”
       In re WDH Howell, LLC, 294 B.R. 613, 616 (Bankr. D.N.J. 2003) (citing U.S. v. Whiting Pools, Inc., 462 U.S.
       198 (1983). Insurance policies fall under section 541(a)(1)’s expansive definition of property of the estate. See
       In re Federal-Mogul Global Inc., 684 F.3d 355, 366 (3d Cir. 2012) (quoting Estate of Lellock v. Prudential Ins.
       Co. of Am., 811 F.2d 186, 189 (3d Cir.1987) (“We hold that an insurance policy is property of the estate within
       11 U.S.C. § 541(a)(1).”)). As the named insured on the Excess Policy, the Excess Policy is property of the estate.
       See In re GB Holdings, Inc., 2006 WL 4457350, *2 (Bankr. D.N.J. Sept. 21, 2006) (holding that D&) policy on
       which debtor was named insured was property of the debtor’s estate).
   5
       See 11 U.S.C. § 362(a)(2)-(3), (c)(1)-(2).
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 cannot be waived.”); Maritime Electric Co. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir.

 1991 (considering a post-petition waiver and stating, “[b]ecause the automatic stay serves the

 interests of both debtors and creditors, it may not be waived and its scope may not be limited by

 a debtor.”); Bank of China v. Huang (In re Huang), 275 F.3d 1173, 1177 (9th Cir. Cal. 2002)

 (considering pre-petition waiver of dischargability and stating, “[i]t is against public policy for a

 debtor to waive the prepetition protection of the Bankruptcy Code.”).

        11.     Here, the Motion asserts that the company, pre-petition (but on the eve of

 bankruptcy) contractually bound itself not to oppose the lifting of the automatic stay once the

 company became a debtor. But for similar reasons, many bankruptcy courts have held such

 prepetition waivers are per se unenforceable. See Matter of Pease, 195 B.R. 431, 435 (Bankr. D.

 Neb. 1996) (while noting that some courts upheld such waivers in limited circumstances,

 concluding that such waivers were per se unenforceable); In re Jeff Benfield Nursery, Inc., 565

 B.R. 603, 63 (Bankr. W.D. N.C. 2017) (same); In re DB Cap. Holdings, LLC, 454 B.R. 804, 816

 (Bankr. D. Colo. 2011) (same); see also In re Trans World Airlines, Inc., 261 B.R. 103, 115

 (Bankr. D. Del. 2001) (citing Pease for conclusion that fundamental rights of a debtor cannot be

 contracted away by pre-petition debtor).

        12.     Certain bankruptcy courts have held that such waivers are not per se

 unenforceable, but those that have done so generally hold the waivers are neither per se

 enforceable nor self-executing. See, e.g., In re Frye, 320 B.R. 786, 790 (Bankr. D. Vt. 2005)

 (“Although pre-petition agreements waiving the protection afforded by the automatic stay are

 enforceable, such waivers are neither per se enforceable, nor self-executing.”) Instead, they must

 be weighed on a case-by-case basis. As one court has held (in finding such provisions potentially

 enforceable), “[a]s a general proposition, prepetition waivers of stay relief will be given no

 particular effect as part of initial loan documents; they will be given the greatest effect if entered

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 into during the course of prior (and subsequently aborted) chapter 11 proceedings.” In re Bryan

 Rd., LLC, 382 B.R. 844, 848 (Bankr. S.D. Fla. 2008). Generally speaking, such waivers are

 enforced on

        13.     Under the circumstances here, the Plan Administrator plainly has standing to be

 heard with respect to the request to lift the automatic stay. The waiver is unenforceable against

 the Plan Administrator under these circumstances for two reasons.

        14.     First, the Movants make absolutely no effort to justify the enforcement of the

 purported waiver, instead simply assuming (with absolutely no caselaw support) that such waivers

 are per se enforceable. If the Plan Administrator determined that lifting the automatic stay was

 inappropriate under the circumstances, the Plan Administrator is not bound by the pre-petition

 wavier because this waiver was not part of any out-of-court restructuring or settlement. See In re

 DB Cap. Holdings, LLC, 454 B.R. 804, 813–14 (Bankr. D. Colo. 2011) (“Courts finding

 prepetition waivers of the automatic stay to be enforceable point out the enforcement furthers the

 legitimate public policy of encouraging out-of-court restructuring and settlements”)

        15.     Second, the Plan Administrator does not oppose lifting the automatic stay and

 informed the Movants prior to the filing of this Motion. The Movants seek to assert that not only

 may the Plan Administrator not be heard to oppose the lifting of the automatic stay, the Plan

 Administrator may not be heard to insist that the order be clarified to avoid inappropriate

 collateral consequences. No case that supports even the limited fact-intensive potential

 enforceability of such waivers supports such a contention – and the waiver cited by the Movants




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   does not purport to limit the ability of the Plan Administrator to ensure that the order lifting the

   automatic stay only lifts the automatic stay.

III.         Any Order Lifting The Stay With Respect To The Excess Policy
             Should Make Clear That Such An Order Does Not Constitute A
             Finding As To The Validity Of The Excess Policy, And That The
             Wind-Down Debtors Rights With Respect Thereto Are Otherwise Preserved.

             16.   As mentioned above and as communicated to Movants, the Wind-Down Debtors

   do not oppose Movants request to access the Excess Policy. However, an order lifting the stay

   permitting Movants to make a demand under the Excess Policy on the Insurers must (1) not

   constitute a finding as to the validity of the Policy, and (2) otherwise reserve the Wind-Down

   Debtors rights, including to seek to avoid and recover any payments made under the Excess

   Policy.

             17.   The cornerstone of the Plan that was confirmed in these cases is the Committee

   Settlement that, among other things, contemplated the reservation of the Wind-Down Debtors

   rights with respect to the Excess Policy. The Committee Settlement, including the contemplated

   reservation of rights, was discussed at length on the record, and expressly provided for in the Plan

   and Plan Supplement documents. On January 3, 2024, in accordance with the terms of the Plan

   and Confirmation Order, the Wind-Down Debtors filed a complaint (the “Complaint” and as

   amended on February 13, 2024, the “Amended Complaint”) in the New Jersey Superior Court

   Law Division: Hudson County, commencing Case No. HUD-L-000025-24 asserting causes of

   action with respect to the Excess Policy.

             18.   The Wind-Down Debtors provided language to Movants to include in the proposed

   order, attached hereto as Exhibit A, making clear that such order would not constitute a backdoor

   finding as to the validity of the Excess Policy that may bear on the claims asserted in the Amended




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 Complaint. Movants failed to respond to the Wind-Down Debtors proposed language and instead,

 filed their Motion.

        19.     The Wind-Down Debtors respectfully request that, to the extent that this Court is

 inclined to grant Movants’ request to lift the stay to access the Excess Policy, the order include

 language sufficiently similar to that in Exhibit A making clear that (1) the order does not constitute

 a finding as to the validity of the Excess Policy, and (2) the Wind-Down Debtors rights with

 respect to the Excess Policy are reserved.

                                           CONCLUSION

        Accordingly, the Wind-Down Debtors respectfully submit that this Court should deny the

 Motion, or, if this Court is inclined to grant the Motion, to enter an order that includes language

 sufficiently similar to that in Exhibit A making clear that (1) the order does not constitute a finding

 as to the validity of the Excess Policy, and (2) the Wind-Down Debtors rights with respect to the

 Excess Policy are reserved, and grant other such relief as it deems proper.

                            [Remainder of page intentionally left blank.]




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 Respectfully Submitted:


  Dated: April 18, 2024                    /s/ Daniel M. Stolz

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                                  EXHIBIT A

                            (Revised Proposed Order)
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     Attorneys for Zachary Prince
     In re :                                                         Chapter 11
                                                                     Case No. 22-19361 (MBK)
     BLOCKFI INC., et al.,                                           (Jointly Administered)
          Debtors.1                                                  Hearing Date and Time:
                                                                     April 25, 2024, 11:30 (ET)

  ORDER GRANTING MOTION OF ZACHARY PRINCE AND FLORI MARQUEZ FOR
   AN ORDER TO ALLOW INSURED PERSONS TO ACCESS EXCESS DIRECTORS
          AND OFFICERS INSURANCE POLICY FOR DEFENSE COSTS

     The relief set forth on the following pages, numbered two (2) through four (4) is
 ORDERED.




 1
   The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
 (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
 BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is 201
 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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 Debtors: BlockFi Inc.
 Case No.            22-19361(MBK)
 Caption of Order: ORDER GRANTING MOTION OF ZACHARY PRINCE AND FLORI
                     MARQUEZ FOR AN ORDER TO ALLOW INSURED PERSONS TO
                     ACCESS EXCESS DIRECTORS AND OFFICERS INSURANCE POLICY
                     FOR DEFENSE COSTS


            Upon consideration of the Motion of Zachary Prince and Flori Marquez for an Order to

 Allow Insured Persons to Access Excess Directors and Officers Insurance Policy for Defense Costs

 (the “Motion”)1; and the Court having jurisdiction to consider the Motion and the relief requested

 therein pursuant to 28 U.S.C. § 157 and Standing Order 12-1 (Simandle, C.J.), Standing Order of

 Reference to the Bankruptcy Court Under Title 11, dated September 18, 2012; and consideration

 of the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

 due and proper notice of the Motion having been provided; and it appearing that no other or further

 notice need be provided; and the Court having held a hearing to consider the relief requested in

 the Motion (the “Hearing”); and all objections, if any, to the Motion having been withdrawn,

 resolved, or overruled; and the Court having found and determined that the relief sought in the

 Motion is in the best interest of all parties-in-interest; and the Court having determined that the

 legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

 upon the record of the Hearing, and all of the proceedings had before the Court; and after due

 deliberation and sufficient cause appearing therefor,

            IT IS HEREBY ORDERED THAT:

            1.       The Motion is GRANTED as set forth herein.




 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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 Debtors: BlockFi Inc.
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                     MARQUEZ FOR AN ORDER TO ALLOW INSURED PERSONS TO
                     ACCESS EXCESS DIRECTORS AND OFFICERS INSURANCE POLICY
                     FOR DEFENSE COSTS

        2.        Movants and the other insured persons (including but not limited to all defendants

 in the Securities Lawsuit) under the Excess Policy are hereby authorized and permitted to seek

 coverage for Defense Costs and Mediation Expenses pursuant to the terms and conditions of the

 Excess Policy.

        3.        To the extent applicable, the automatic stay and/or injunction provisions of the Plan

 are waived and/or do not apply to bar the relief sought in the Motion. Movants, the other insured

 persons under the Excess Policy, and the carriers for the Excess Policy are authorized to take all

 steps necessary or appropriate for the insured persons to carry out the relief granted in this Order,.

        4.        Nothing in this Order shall alter, amend, or modify any of the terms, conditions, or

 provisions of the Excess Policy. All rights of the insureds and insurers under the Excess Policy

 are mutually reserved, as are all rights of BlockFi under the Excess Policy and with respect to the

 Excess Policy. Nothing in this Order authorizes any assertion that any party is entitled to coverage

 under the Excess Policy nor limits the right of any party to assert otherwise, including the insurance

 companies and BlockFi.

        5.        All rights of BlockFi with respect to the Excess Policy are reserved, including but

 not limited to the allegations and causes of action alleged in Blockfi Inc. as The Wind Down

 Debtors, vs. Ace American Insurance Company; et al., (the “Insurance Litigation”). Nothing in

 this Order constitutes any legal determination or factual finding relevant to the Insurance

 Litigation, including but not limited to (a) a finding that the Excess Policy is not avoidable under

 applicable law; (b) a finding the Excess Policy is valid and enforceable pursuant to its terms; (c) a

 finding BlockFi is not permitted to terminate the Excess Policy pursuant to its terms; (d) a finding
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 Debtors: BlockFi Inc.
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                     ACCESS EXCESS DIRECTORS AND OFFICERS INSURANCE POLICY
                     FOR DEFENSE COSTS

 with respect to any allegation (or defense) with respect to the complaint in the Insurance

 Proceeding; (e) a finding that jurisdiction in this court is proper, or that this court should or should

 not abstain in exercising jurisdiction, with respect to the Insurance Proceeding; (f) a finding that

 BlockFi is not entitled to a return of the premium p[aid for the Excess Policy;

         6.      Nothing in this Order, or in BlockFi’s non-opposition to this Order, shall constitute

 a waiver by BlockFi, create any estoppel with respect to BlockFi, or any similar principle of law

 with respect to any matter related to the Excess Policy or the Insurance Litigation, or BlockFi’s

 rights regarding the Excess Policy, or limit any damages recoverable by BlockFi with respect to

 any cause of action related to the Excess Policy, including but not limited to the causes of action

 asserted in the Insurance Litigation.

         7.      Without limiting the applicability of the foregoing, BlockFi specifically does not

 consent to the payment of any amounts under the Excess Policy, acknowledge the validity of the

 Excess Policy or the non-avoidability of premiums paid with respect to the Excess Policy, waive

 any right to rescind or void the Excess Policy, waive any rights to repayment of the premiums paid

 for the excess Policy, or waive any rights or arguments with respect to its motion to remand the

 Insurance Litigation.

         8.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or is otherwise waived.

         9.      Under the circumstances of these Chapter 11 Cases, notice of the Motion is

 adequate under Bankruptcy Rule 6004(a).
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                     ACCESS EXCESS DIRECTORS AND OFFICERS INSURANCE POLICY
                     FOR DEFENSE COSTS

        10.     Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Order shall be

 immediately effective and enforceable upon its entry.

        11.     This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation, interpretation, or enforcement of this Order. For the avoidance of doubt,

 this clause does not confer any additional jurisdiction or alter the nature of any jurisdiction this

 Court may have over the Insurance Litigation.
